4:10-cr-03005-RGK-CRZ      Doc # 104    Filed: 03/13/12    Page 1 of 1 - Page ID # 298




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )                 4:10CR3005
                                         )
                   Plaintiff,            )
                                         )
             v.                          )                MEMORANDUM
                                         )                 AND ORDER
MELISSA SPEAR,                           )
                                         )
                   Defendant.            )

      IT IS ORDERED that Defendant Melissa Spear’s Motion for Leave to Proceed
In Forma Pauperis and Motion for Copies (filing 102) are denied.

      DATED this 13 th day of March, 2012.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge




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